
The Disciplinary Review Board having filed a certification of Board Counsel pursuant to Rule 1:20-17(e)(1) reporting that ANDREW
**89S. ROSENBLOOM of COLLEGEVILLE, PENNSYLVANIA, who was admitted to the bar of this State in 2002, has failed to pay the administrative costs assessed in connection with disciplinary proceedings that resulted in the imposition of discipline by Order filed May 2, 2018 (DRB 17-122), and good cause appearing;
It is ORDERED that ANDREW S. ROSENBLOOM be temporarily suspended from the practice of law pending payment in full of the assessed administrative costs and accrued interest as determined by the Disciplinary Review Board, effective September 24, 2018, and until further Order of the Court; provided, however, that this Order shall be vacated automatically if the Disciplinary Review Board reports that the prior to the effective date of the suspension payment in full has been made or that a satisfactory installment payment plan is in place and current; and it is further
ORDER that if the respondent seeks to be heard on this matter, he shall file with the Clerk of the Court within ten days after the filed date of this Order a written request for the issuance of an Order to Show Cause; and it further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that ANDREW S. ROSENBLOOM be restrained and enjoined from practicing law during the period of suspension and that respondent comply with Rule 1:20-20.
